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                      UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF MASSACHUSETTS

                                               )
                                               )
 MAURA O’NEILL, as administrator of the Estate )
 of Madelyn E. Linsenmeir,                     )
                                               )
                           Plaintiff,          )                 C.A. No. 20-30036-MGM
                                               )
                  v.
                                               )
 CITY OF SPRINGFIELD, et al.                   )
                                               )
                           Defendants.         )
                                               )
                                               )

                      JOINT MOTION TO EXTEND FILING DATES


       The parties jointly move the Court to extend the deadlines for filing the joint pretrial

memorandum and other pretrial materials, as described below. As reasons therefor, the parties state

as follows.

   1. On April 24, 2024, the Court allowed Plaintiff’s motion to continue the trial from May 20,

       2024.

   2. The Court stated its preference to reschedule the trial to begin on September 9, 2024, and

       directed the parties to confer and check with witnesses regarding availability.

   3. Counsel conferred. Plaintiffs' counsel are available to begin the trial on September 9, 2024.

       Defendants’ counsel are still trying to confirm availability. Atty. Thomas E. Day has a trial

       currently scheduled to begin on September 9, 2024, but is hopeful that the trial can be

       rescheduled. Atty. Michael McDonough also has a trial scheduled to begin September 16,

       2024 and last at least one week. Atty. McDonough is also hopeful that the trial can be

       rescheduled to accommodate the trial in this matter. Counsel are still contacting witnesses
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   and will report to the Court at the May 7, 2024 status conference on the feasibility of

   September 9 date and, if necessary, with other proposed dates. Counsel for the Defendants

   has encountered scheduling difficulties with some of their experts and are trying to work

   those out to accommodate the September trial date.

4. The Court’s April 24, 2024 order stated that the other pretrial deadlines set forth in the

   Trial Procedural Order (Dkt. 217) remain intact.

5. In keeping with that order, the parties have submitted motions in limine and oppositions

   thereto.

6. Under the current schedule, the joint pretrial memo is due Friday, May 3, 2024.

7. The following materials are due Monday, May 13, 2024: exhibit and witness lists, proposed

   voir dire questions, proposed jury instructions and verdict form.

8. Some of the information necessary to complete these filings remains unknown, such as the

   possible testimony of two key witnesses, Alexandria Cox and Haylee Champagne, whose

   depositions have yet to take place (the parties are trying to arrange them for sometime in

   May).

9. More fundamentally, the parties believe that additional time to prepare the submissions

   will result in far more thorough and helpful materials for the Court that will allow this

   legally and factually complex trial to proceed more efficiently. Furthermore, extending

   these deadlines will permit counsel to continue the work related to rescheduling the trial so

   that counsel can determine whether the September 9, 2024 trial date is feasible.

10. The parties request that the deadlines for these submissions be set for a time closer to the

   trial date.




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WHEREFORE, The parties request that the Court extend the deadlines for submission of the joint

pretial memorandum, the exhibit and witness lists, the proposed voir dire questions, and the

proposed jury instructions and verdict form to a time that is aligned with the new trial date once

that is set.



                                                    Respectfully submitted,
                                                    Maura O’Neill, as administrator of the
                                                    Estate of Madelyn E. Linsenmeir,


                                                    /s/ Daniel L. McFadden
                                                    Jessie J. Rossman (BBO# 670685)
                                                    Daniel L. McFadden (BBO# 676612)
                                                    Julian Bava (BBO# 712829)
                                                    American Civil Liberties Union
                                                    Foundation of Massachusetts, Inc.
                                                    One Center Plaza, Suite 850
                                                    Boston, MA 02108
                                                    (617) 482-3170

                                                    David Milton (BBO# 668908)
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                                                    50 Federal St.
                                                    Boston, MA 02110
                                                    (617) 482-2773

                                                    Martin M. Fantozzi (BBO# 554651)
                                                    Richard J. Rosensweig (BBO# 639547)
                                                    Julius Halstead (BBO# 705428)
                                                    Kiman Kaur (BBO# 709943)
                                                    Goulston & Storrs PC
                                                    400 Atlantic Avenue
                                                    Boston, MA 02110
                                                    (617) 482-1776

                                                    Defendants, Hampden County Sheriff’s
                                                    Department, by its attorney,

                                                    /s/ Thomas E. Day
                                                    Thomas E. Day, Esq. BBO #655409
                                                    Special Assistant Attorney General

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Dated: May 2, 2024




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                                   LOCAL RULE 7.1 CERTIFICATE

       I hereby certify that the parties conferred in a good faith effort to narrow or resolve the

issues raised by this motion, and parties agreed that this is a joint motion.



Dated: May 2, 2024                                             /s/ Daniel L. McFadden




                                     CERTIFICATE OF SERVICE

       I hereby certify that on May 2, 2024, I served the foregoing document on all parties by

filing it via the Court’s CM/ECF system and that a copy will be sent via the CM/ECF system

electronically to all counsel of record.



Dated: May 2, 2024                                             /s/ Daniel L. McFadden




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